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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

MICHAEL ANDREW JOHNSON                                                             PLAINTIFF
ADC #110504

v.                            Case No. 4:20-cv-00806-KGB-JTR

Wendy Kelley, Director,                                                          DEFENDANT
Arkansas Department of Correction, et al.

                                            ORDER

       The Court has received the Recommended Disposition submitted by United States

Magistrate Judge J. Thomas Ray (Dkt. No. 5). Plaintiff Michael Andrew Johnson filed an

objection to the Recommended Disposition (Dkt. No. 6). Also before the Court is Mr. Johnson’s

motion for leave to proceed in forma pauperis, motion for status, motion to appoint counsel,

motion to dismiss, motion for status update and notice of filing of medical records, motion for

status, and motion for copies (Dkt. Nos. 2, 8, 11, 18, 19, 20, 21). After a review of the

Recommended Disposition and Mr. Johnson’s objection, as well as a de novo review of the record,

the Court adopts the Recommended Disposition in its entirety (Dkt. No. 5). The Court dismisses

without prejudice Mr. Johnson’s claims as a duplicative action. The Court denies as moot Mr.

Johnson’s motion for leave to proceed in forma pauperis (Dkt. No. 2). The Court grants Mr.

Johnson’s motions for status update (Dkt. Nos. 8, 19, 20), and the Court denies as moot Mr.

Johnson’s motion to appoint counsel and motions to dismiss (Dkt. Nos. 11, 18). The Court grants

in part and denies in part Mr. Johnson’s motion for copies and instructs the Clerk to forward Mr.

Johnson a copy of his docket sheet in this case (Dkt. No. 21).

       The Court writes separately to address Mr. Johnson’s objection. Judge Ray recommends

dismissing Mr. Johnson’s complaint because it raises claims that are duplicative of those pending
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in Johnson v. Kelley, Case No. 5:19cv00242-BRW-JJV (E.D. Ark.) (Dkt. No. 5, at 2-3). In his

objection, Mr. Johnson states that he is seeking additional damages that were not included when

he filed his other action in 2019, asks this Court to add his new damages claims to his pending

2019 case, and states that he does not want to amend his complaint (Dkt. No. 6, at 1). The Court

overrules these objections; Mr. Johnson’s claims here are still duplicative of his other lawsuit

pending in this district. If Mr. Johnson would like to amend his complaint to seek additional

damages, he may seek leave to file an amended complaint in his 2019 case and pursue the requested

relief there.

        It is therefore ordered that:

        1.       The Recommended Disposition submitted by United States Magistrate Judge J.

                 Thomas Ray is adopted in its entirety (Dkt. No. 5);

        2.       The Court overrules Mr. Johnson’s objections (Dkt. No. 6);

        3.       Mr. Johnson’s complaint is dismissed without prejudice as a duplicative action

                 (Dkt. No. 3);

        4.       The Court denies as moot Mr. Johnson’s motion for leave to proceed in forma

                 pauperis (Dkt. No. 2);

        5.       The Court grants Mr. Johnson’s motions for status updates (Dkt. Nos. 8, 19, 20);

        6.       The Court denies as moot Mr. Johnson’s motion to appoint counsel and motion to

                 dismiss (Dkt. Nos. 11, 18);

        7.       The Court grants in part and denies in part Mr. Johnson’s motion for copies and

                 instructs the Clerk to forward Mr. Johnson a copy of his docket sheet in this case

                 (Dkt. No. 21); and




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8.       The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

         appeal from this Order or the accompanying Judgment would not be taken in good

         faith.

It is so ordered this 21st day of October, 2020.


                                              __________________________________
                                              Kristine G. Baker
                                              United States District Judge




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